
24 Cal.App.2d 476 (1938)
E. W. McNEW, Respondent,
v.
W. T. MULCAHY, Appellant.
Civ. No. 1878. 
California Court of Appeals. Fourth Appellate District.  
January 20, 1938.
 Hazlett &amp; Plummer and Robert J. Sullivan for Appellant.
 Siemon &amp; Claflin for Respondent.
 Barnard, P. J.
 The respondents moved, after the usual three briefs had all been filed, for an order affirming the judgment as provided for in section 3 of rule V of the rules governing this court. [1] An examination of the opening brief and moving papers discloses that it will be necessary to go into the transcript. Under these circumstances this court has frequently held that such a motion should be denied. (See, Hall v. Wolford, 23 Cal.App.2d 498 [71 PaCal.2d 596], and cases there cited.)
 The respondent has further moved for an order placing this cause on the Ready for Submission list in the event the motion to affirm is denied. The motions were submitted pursuant to a stipulation of the parties, the briefs are all filed and it appears from the nature of the points involved that a further oral argument is not essential.
 The motion to affirm is denied and the motion to transfer the cause to the Ready for Submission list is granted and the cause ordered marked ready for submission.
 Marks, J., concurred.
